Case:17-03283-LTS Doc#:14693-1 Filed:10/20/20 Entered:10/20/20 17:16:22   Desc:
                           Exhibit A Page 1 of 2



                                     Exhibit A

                 Schedule of Deficient Claims to Be Set for Hearing
                                 Case:17-03283-LTS Doc#:14693-1 Filed:10/20/20 Entered:10/20/20 17:16:22                                                 Desc:
                                                            Exhibit A Page 2 of 2

                                                               One Hundred and Forty-First Omnibus Objection
                                                         Exhibit A - Schedule of Deficient Claims to be Set for Hearing
                                                                                                                                                                                 ASSERTED CLAIM
    NAME                                                                                DATE FILED      CASE NUMBER                      DEBTOR                     CLAIM #          AMOUNT
1   MEDINA GOMEZ, CARMEN ELISA                                                           6/29/2018      17 BK 03566-LTS Employees Retirement System of the             142010          Undetermined*
    3-C-53 FERRARA                                                                                                      Government of the Commonwealth
    URBANIZACION- VILLA DEL REY                                                                                         of Puerto Rico
    CAGUAS, PR 00727

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MEDINA GOMEZ, CARMEN ELISA                                                           6/29/2018      17 BK 03566-LTS Employees Retirement System of the             129968          Undetermined*
    3-C-53 FERRARA                                                                                                      Government of the Commonwealth
    URBANIZACION VILLA DEL REY                                                                                          of Puerto Rico
    CAGUAS, PR 00727

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                 TOTAL                  Undetermined*




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 1 of 1
